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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

KENNETH TABAZCKA,

                      Plaintiff,

v.                                                         Case No: 6:19-cv-2402-Orl-22GJK

MIRAMED REVENUE GROUP, LLC
and LIFEWATCH SERVICES, INC.,

                Defendants.
___________________________________

                  CASE MANAGEMENT AND SCHEDULING ORDER

       Having considered the case management report prepared by the parties, see Fed. R. Civ.

P. 26 (f) and Local Rule 3.05 (c), the Court enters this case management and scheduling order:

 Mandatory Initial Disclosures (pursuant to Fed.R.Civ.P.                      APRIL 30, 2020
 26(a)(1) as amended effective December 1, 2000)
 Certificate of Interested Persons and Corporate Disclosure                    COMPLETED
    Statement
 Motions to Add Parties or to Amend Pleadings                                   MAY 30, 2020

 Disclosure of Expert Reports
                                                          Plaintiff:           APRIL 1, 2021
                                                        Defendant:              MAY 3, 2021
                                                         Rebuttal:
 Discovery Deadline                                                              JUNE 1, 2021

 Dispositive Motions, Daubert, and Markman Motions                               JULY 1, 2021

 Meeting In Person to Prepare Joint Final Pretrial Statement               OCTOBER 4, 2021

 Joint Final Pretrial Statement (Including a Single Set of               OCTOBER 18, 2021
     Jointly Proposed Jury Instructions and Verdict Form
     (Also sent to Chamber’s email in Microsoft Word
     Format), Voir Dire Questions, Witnesses Lists, Exhibit
     Lists on Approved Form.)
 Trial Briefs
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    All Other Motions Including Motions In Limine                                        AUGUST 2, 2021
    (MULTIPLE MOTIONS IN LIMINE ARE NOT FAVORED.
    ALL REQUESTS TO LIMIT EVIDENCE SHALL
    THEREFORE BE INCLUDED IN A SINGLE MOTION NOT
    TO EXCEED 25 PAGES WITHOUT LEAVE OF COURT.
    RESPONSES ARE LIMITED TO 20 PAGES WITHOUT
    LEAVE OF COURT.)
    Trial Term Begins                                                                DECEMBER 1, 2021
                                                                                          at 9:00 a.m.
    Estimated Length of Trial                                                                   2 days

    Jury/Non-Jury                                                                                  Non-Jury

    Mediation
                                                                   Deadline:                JUNE 18, 2021


    Designated Lead Counsel shall contact
    opposing counsel to select a mediator from
    the approved list and to reserve a conference
    date and shall file a Notice with the Court
    within 14 days of this Order advising of the date.1



    Designated Lead Counsel                                 Attorney Name:                 Jibrael S. Hindi
    Pursuant to Local Rule 9.04(a)(3)
    Lead Counsel                                      Telephone Number:                        954/907-1136



          The purpose of this order is to discourage wasteful pretrial activities, and to secure the just,

speedy, and inexpensive determination of the action. See Fed.R.Civ.P. 1; Local Rule 1.01(b). This

order controls the subsequent course of this proceeding. Fed.R.Civ.P. 16(b), (e). Counsel and all

parties (both represented and pro se) shall comply with this order, with the Federal Rules of Civil

Procedure, with the Local Rules of the United States District Court for the Middle District of

Florida, and with the Administrative Procedures for Case Management/Electronic Case Filing. A

copy      of    the   Local    Rules    and     Administrative      Procedures      may      be    viewed       at



1
 The parties wrote “N/A” in the Mediation section of the Case Management Report. The Court refers all Track 2
cases, including Fair Debt Collection Practices Act cases, to mediation pursuant to Local Rule 9.04.
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http://www.flmd.uscourts.gov.                 Counsel shall also comply with the Ideals and Goals of

Professionalism adopted by the Board of Governors of the Florida Bar on May 16, 1990 available

at www.floridabar.org (Professional Practice - Henry Latimer Center for Professionalism); Local

Rule 2.04(g).2

I.         DISCOVERY

        A.      Certificate of Interested Persons and Corporate Disclosure Statement – This
Court has previously ordered each party, governmental party, intervenor, non-party movant, and
Rule 69 garnishee to file and serve a Certificate of Interested Persons and Corporate Disclosure
Statement using a mandatory form. No party may seek discovery from any source before filing
and serving a Certificate of Interested Persons and Corporate Disclosure Statement. A motion,
memorandum, response, or other paper – including emergency motion – may be denied or stricken
unless the filing party has previously filed and served a Certificate of Interested Persons and
Corporate Disclosure Statement. Any party who has not already filed and served the required
certificate shall do so within the time required by this order, or sanctions will be imposed.

       B.      Discovery Not Filed - The parties shall not file discovery materials with the Clerk
except as provided in Local Rule 3.03(e). The Court encourages the exchange of discovery
requests on diskette or by e-mail.

        C.      Limits on Discovery - Absent leave of Court, the parties may take no more than
ten depositions per side (not per party). Fed.R.Civ.P. 30(a)(2)(A); Fed.R.Civ.P. 31(a)(2)(A).
Absent leave of Court, the parties may serve no more than twenty-five interrogatories, including
sub-parts. Fed.R.Civ.P. 33(a). Absent leave of the Court or stipulation by the parties, each
deposition is limited to one day of seven hours. Fed.R.Civ.P. 30(d)(2). The parties may agree by
stipulation on other limits on discovery within the context of the limits and deadlines established
by this Case Management and Scheduling Order, but the parties may not alter the terms of this
Order without leave of Court. See, e.g., Fed.R.Civ.P. 29.

       D.     Discovery Deadline - Each party shall timely serve discovery requests so that the
Rules allow for a response prior to the discovery deadline. The Court may deny as untimely all
motions to compel filed after the discovery deadline.

        E.       Disclosure of Expert Testimony - On or before the date set forth in the above table
for the disclosure of expert reports, the party shall fully comply with Federal Rule of Civil
Procedure 26(a)(2) and 26(e). Expert testimony on direct examination at trial will be limited to
the opinions, bases, reasons, data, and other information disclosed in the written expert report
disclosed pursuant to this Order. Failure to disclose such information may result in the exclusion
of all or part of the testimony of the expert witness.

        F.     Confidentiality Agreements - The parties may reach their own agreement
regarding the designation of materials as “confidential.” There is no need for the Court to endorse
the confidentiality agreement. The Court discourages unnecessary stipulated motions for a
protective order. The Court will enforce stipulated and signed confidentiality agreements. Each

     2   See also procedures for the presiding district judge found under Judicial Information at www.flmd.uscourts.gov
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confidentiality agreement or order shall provide, or shall be deemed to provide, that “no party shall
file a document under seal without first having obtained an order granting leave to file under seal
on a showing of particularized need.” See also “Motions to File Under Seal” below.

II.    MOTIONS

         A.      Certificate of Good Faith Conference - Before filing any motion in a civil case,
the moving party shall confer with the opposing party in a good faith effort to resolve the issues
raised by the motion, and shall file with the motion a statement certifying that the moving party
has conferred with the opposing party, and that the parties have been unable to agree on the
resolution of the motion. Local Rule 3.01(g). A certification to the effect that opposing counsel
was unavailable for a conference before filing a motion is insufficient to satisfy the parties'
obligation to confer. See Local Rule 3.01(g). No certificate is required in a motion for injunctive
relief, for judgment on the pleadings, for summary judgment, to dismiss or to permit maintenance
of a class action, to dismiss for failure to state a claim upon which relief can be granted, or to
involuntarily dismiss an action. Local Rule 3.01(g). Nonetheless, the Court expects that a party
alleging that a pleading fails to state a claim will confer with counsel for the opposing party before
moving to dismiss and will agree to an order permitting the filing of a curative amended pleading.
Fed.R.Civ.P.15. The term "counsel" in Rule 3.01(g) includes pro se parties acting as their own
counsel, thus requiring movants to confer with pro se parties and requiring pro se movants to file
Rule 3.01(g) certificates. The term “confer” in Rule 3.01(g) requires a substantive conversation
in person or by telephone in a good faith effort to resolve the motion without court action and does
not envision an exchange of ultimatums by fax or letter. Counsel who merely “attempt” to confer
have not “conferred.” Counsel must respond promptly to inquiries and communications from
opposing counsel. Board of Governors of the Florida Bar, Ideals and Goals of Professionalism,
¶ 6.10 and Creed of Professionalism ¶ 8 (adopted May 16, 1990), available at www.floridabar.org
(Professional Practice - Henry Latimer Center for Professionalism). The Court will deny motions
that fail to include an appropriate, complete Rule 3.01(g) certificate.

       B.      Extension of Deadlines

       The parties may not extend deadlines established in this Case Management and Scheduling
Order without the approval of the Court.

               1.     Dispositive Motions Deadline and Trial Not Extended – Motions to
extend the dispositive motions deadline or to continue the trial are generally denied. See Local
Rule 3.05(c)(2)(E). The Court will grant an exception only when necessary to prevent manifest
injustice. A motion for a continuance of the trial is subject to denial if it fails to comply with Local
Rule 3.09. The Court cannot extend a dispositive motion deadline to the eve of trial. At least five
months are required before trial to receive memoranda in opposition to a motion for summary
judgment, and to research and resolve the dispositive motion sufficiently in advance of trial.

               2.      Extensions of Other Deadlines Disfavored - Motions for an extension of
other deadlines established in this order, including motions for an extension of the discovery
period, are disfavored. The deadline will not be extended absent a showing of good cause.
Fed.R.Civ.P. 16(b); Local Rule 3.09(a). Failure to complete discovery within the time established
by this Order shall not constitute cause for continuance. A motion to extend an established
deadline normally will be denied if the motion fails to recite that: 1) the motion is joint or
unopposed; 2) the additional discovery is necessary for specified reasons; 3) all parties agree that
the extension will not affect the dispositive motions deadline and trial date; 4) all parties agree that
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any discovery conducted after the dispositive motions date established in this Order will not be
available for summary judgment purposes; and 5) no party will use the granting of the extension
in support of a motion to extend another date or deadline. The filing of a motion for extension of
time does not toll the time for compliance with deadlines established by Rule or Order.

        C.      Motions to Compel and for Protective Order - Motions to compel and motions
for a protective order will be denied unless the motion fully complies with Local Rule 3.04,
requiring the motion to quote in full each interrogatory, question, or request; to quote in full
opposing party’s objection and grounds, or response which is asserted to be insufficient; and to
state the reasons the motion should be granted.

       D.     Motions to File Under Seal - Whether documents filed in a case may be filed under
seal is a separate issue from whether the parties may agree that produced documents are
confidential. Motions to file under seal are disfavored, and such motions will be denied unless
they comply with Local Rule 1.09.

        E.       Memoranda in Opposition - Each party opposing any written motion, except a
motion for summary judgment under Section II H below, shall file and serve, within fourteen days
after being served with such motion, a legal memorandum with citation of authorities in opposition
to the relief requested. Local Rule 3.01(b). Where no memorandum in opposition has been filed,
the Court routinely grants the motion as unopposed. Motions titled as “unopposed” or “agreed”
normally come to the Court’s attention prior to the deadline for response.

        F.     Emergency Motions - The Court may consider and determine emergency motions
at any time. Local Rule 3.01(e). Counsel should be aware that the designation “emergency” may
cause a judge to abandon other pending matters in order to immediately address the “emergency.”
The Court will sanction any counsel or party who designates a motion as “emergency” under
circumstances that are not a true emergency. It is not an emergency when counsel has delayed
discovery until the end of the discovery period. Promptly after filing an emergency motion,
counsel shall place a telephone call to the chambers of the presiding judge to notify the court that
an emergency motion has been filed.

        G.     Page Limit - No party shall file a motion and supporting memorandum in excess
of twenty-five pages. Local Rule 3.01(a). No party shall file an opposing brief or memorandum
in excess of twenty pages. Local Rule 3.01(b). A motion requesting leave to file either a motion
in excess of twenty-five (25) pages, a response in excess of twenty (20) pages, or a reply or further
memorandum shall not exceed three (3) pages, shall specify the length of the proposed filing, and
shall not include, as an attachment or otherwise, the proposed motion, response, reply, or other
paper. Local Rule 3.01(d). Motions for relief from page limitations are disfavored and will not
be granted without a specific showing of good cause.

       H.      Motions for Summary Judgment

                1.     Required Materials - A motion for summary judgment shall specify the
material facts as to which the moving party contends there is no genuine issue for trial, and shall
include a memorandum of law, and shall be accompanied by affidavits and other evidence in the
form required by Fed. R. Civ. P. 56. The motion for summary judgment and supporting
memorandum of law shall be presented in a single document of not more than twenty-five pages.
Local Rule 3.01(a). Each party opposing a motion for summary judgment shall serve, within thirty
days after being served with such motion, a legal memorandum with citation of authorities in
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opposition to the relief requested as required by Local Rule 3.01(b) of not more than twenty pages.
The memorandum in opposition shall specify the material facts as to which the opposing party
contends there exists a genuine issue for trial, and shall be accompanied by affidavit(s) and other
evidence in the form required by Fed. R. Civ. P. 56. The moving party may file a reply
memorandum, not exceeding ten pages, within fourteen days after the response is served. Both
the movant and the party opposing summary judgment shall provide pinpoint citations to the pages
and lines of the record supporting each material fact. General references to a deposition are
inadequate. On or before the date on which the memorandum in opposition is due, the parties may
also file a stipulation of agreed material facts signed by the movant and the parties opposing
summary judgment pursuant to Local Rule 4.15. Material facts set forth in the stipulation will be
deemed admitted for the purposes of the motion.

               2.     Under Advisement - The Court takes a motion for summary judgment
under advisement forty-five days from the date it is served, unless the Court orders a different
date. Unless specifically ordered, the Court will not hold a hearing on the motion. Failure to
oppose any motion for summary judgment may result in the entry of a judgment for the movant
without further proceedings. See Milburn v. United States, 734 F.2d 762, 765 (11th Cir. 1984);
Griffith v. Wainwright, 772 F.2d 822, 825 (11th Cir. 1985) (per curiam); Fed.R.Civ.P. 56 (e). All
requirements in this Order apply to pro se litigants as well as to parties represented by counsel.

        I.      Daubert and Markman Motions - On or before the date established in the above
table for the filing of motions for summary judgment, any party seeking a ruling pursuant to
Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993) (admissibility of expert
opinions) or pursuant to Markman v. Westview Instruments, Inc., 517 U.S.370 (1996)
(interpretation of a patent claim) shall file and serve an appropriate motion. The parties shall
prepare a glossary of technical or scientific terms where appropriate for the Court.

        J.      All Other Motions Including Motions In Limine - On or before the date
established in the above table, the parties shall file and serve all other motions including motions
in limine. Local Rule 3.01(g) applies, and the parties shall confer to define and limit the issues in
dispute.

III.    JOINT FINAL PRETRIAL STATEMENT

       A.      Meeting In Person - On or before the date established in the above table, lead trial
counsel for all parties and any unrepresented parties shall meet together in person pursuant to
Local Rule 3.06(b) in a good faith effort to:

               1.      settle the case; the parties shall thoroughly and exhaustively discuss
settlement of the action before undertaking the extensive efforts needed to conduct final
preparation of the case for trial and to comply with the requirements of this order;

                2.      stipulate to as many facts and issues as possible; in order to assist the Court,
the parties shall make an active and substantial effort to stipulate at length and in detail as to agreed
facts and law, and to limit, narrow, and simplify the issues of fact and law that remain contested;
as a rule, parties who have complied with this requirement in good faith will file a Joint Final
Pretrial Statement listing far more agreed facts and principles of law than those that remain for
determination at trial;



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                 3.      tag, mark, identify, examine, copy, and list all original trial exhibits
(including actual document exhibits) that any party will offer in evidence or otherwise tender to
any witness during trial [Local Rule 3.06(b)(3) and 3.07(a)]; and prepare and exchange a final
exhibit list on the Clerk’s approved form (attached to this order) bearing a description identifying
each exhibit and sponsoring witness [Local Rule 3.07(b)]; it is anticipated that counsel will agree
to the admission of the bulk of the opposing parties’ exhibits without objection and shall designate
on the exhibit list the exhibits which the Court may admit without objection at trial. Absent good
cause, the Court will not receive in evidence over objection any exhibits – including charts,
diagrams, and demonstrative evidence – not presented to opposing counsel or unrepresented
parties for inspection and copying at the required meeting or not listed in the joint final pretrial
statement. Photographs of sensitive exhibits (i.e., guns, drugs, valuables) and of non-documentary
evidence, and reductions of documentary exhibits larger than 8 ½” by 14” to be substituted for
original exhibits after conclusion of the trial must be presented to opposing counsel for
examination at the meeting to prepare the Joint Final Pretrial Statement. Objections to such
photographs or reductions of exhibits must be listed in the Joint Final Pretrial Statement. The
parties are advised that the design of certain courtrooms may preclude the use of large exhibits and
posters in a jury trial. The parties are directed to contact the trial judge’s courtroom deputy clerk
to discuss exhibits and equipment to be used during trial; and

                4.     exchange the names and addresses of all witnesses and state whether they
will likely be called.

        B.      The Joint Final Pretrial Statement

                1.      Form of Joint Final Pretrial Statement - On or before the date established
in the above table, the parties shall file a Joint Final Pretrial Statement that strictly conforms to the
requirements of Local Rule 3.06(c) and this Order. This case must be fully ready for trial at the
time that the Joint Final Pretrial Statement is due. Lead trial counsel for all parties, or the
parties themselves if unrepresented, shall sign the Joint Final Pretrial Statement. The Court will
strike pretrial statements that are unilateral, incompletely executed, or otherwise incomplete.
Inadequate stipulations of fact and law will be stricken. Sanctions may be imposed for failure to
comply, including the striking of pleadings. At the conclusion of the final pretrial conference, all
pleadings are deemed to merge into the Joint Final Pretrial Statement, which will control the course
of the trial. Local Rule 3.06(e).

                 2.     Exhibit List - The exhibit list filed in compliance with Local Rules
3.06(c)(4) and 3.07(b) must be on the Clerk’s approved form (attached to this order). Unlisted
exhibits will not be received into evidence at trial, except by order of the Court in the furtherance
of justice. See Local Rule 3.06(e). The Joint Final Pretrial Statement must attach each party’s
exhibit list on the approved form listing each specific objection (“all objections reserved” does not
suffice) to each numbered exhibit that remains after full discussion and stipulation. Objections not
made – or not made with specificity – are waived.

                3.     Witness List - On the witness list required by Local Rule 3.06(c)(5), the
parties and counsel shall designate which witnesses will likely be called, and also designate which
witnesses may be called. Absent good cause, the Court will not permit over objection testimony
from unlisted witnesses at trial. This restriction does not apply to true rebuttal witnesses (i.e.,
witnesses whose testimony could not reasonably have been foreseen to be necessary). Records
custodians may be listed but will not likely be called at trial, except in the rare event that
authenticity or foundation is contested. For good cause shown in compelling circumstances, the
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Court may permit presentation of testimony in open court by contemporaneous transmission from
a different location. Fed.R.Civ.P. 43(a).

                 4.     Depositions - The Court encourages stipulations of fact to avoid calling
unnecessary witnesses. Where a stipulation will not suffice, the Court permits the use of
depositions. At the required meeting, counsel and unrepresented parties shall agree upon and
specify in writing in the Joint Final Pretrial Statement the pages and lines of each deposition
(except where used solely for impeachment) to be published to the trier of fact. The parties shall
include in the Joint Final Pretrial Statement a page-and-line description of any testimony that
remains in dispute after an active and substantial effort at resolution, together with argument and
authority for each party’s position. The parties shall prepare for submission and consideration at
the final pretrial conference or trial an edited and marked copy (as to the portion offered by each
party) of any deposition or deposition excerpt which is to be offered in evidence.

                5.       Joint Jury Instructions, Verdict Form, Voir Dire Questions - In cases
to be tried before a jury, the parties shall attach to the Joint Final Pretrial Statement a single jointly-
proposed set of jury instructions in order of presentation to the jury, together with a single
jointly-proposed jury verdict form. Local Rule 5.01(c). The parties should be considerate of their
jury, and therefore should submit short, concise special verdict forms. The Court prefers pattern
jury instructions approved by the United States Court of Appeals for the Eleventh Circuit. A party
may include at the appropriate place in the single set of jointly-proposed jury instructions a
contested charge, so designated with the name of the requesting party and bearing at the bottom a
citation of authority for its inclusion, together with a summary of the opposing party’s objection.
The Court will deny outright a proposed instruction that is “slanted” in any way. The Court
requires that the parties, send to the Chamber's email the single set of jury instructions and
verdict form, in Microsoft Word format. The parties may include in the Joint Final Pretrial
Statement a single list of jointly-proposed questions for the Court to ask the venire during voir
dire.

        C.       Coordination of Joint Final Pretrial Statement - All parties are responsible for
filing a Joint Final Pretrial Statement in full compliance with this order. Plaintiff’s counsel (or
plaintiff if all parties are proceeding pro se) shall have the primary responsibility to coordinate
compliance with the sections of this order that require a meeting of lead trial counsel and
unrepresented parties in person and the filing of a Joint Final Pretrial Statement and related
material. See Local Rule 3.10 (relating to failure to prosecute). If the plaintiff is proceeding pro
se, defense counsel shall coordinate compliance. If counsel is unable to coordinate such
compliance, counsel shall timely notify the Court by written motion or request for a status
conference.

        D.      Trial Briefs and Other Materials

                1.      Trial Briefs - In the case of a non-jury trial, on or before the date established
above, each party shall file and serve a trial brief with proposed findings of fact and conclusions
of law, and send it to the Chamber's email in Microsoft Word format. The parties may file a trial
brief on or before the same date in the case of a jury trial.

                2.      Exhibit Notebook - On the first day of a jury trial or non-jury trial, the
parties shall provide to the Court a bench notebook containing marked copies of all exhibits. The
parties may contact the courtroom deputy clerk for the trial judge to determine whether this
requirement may be waived.
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IV.     MEDIATION

         A.      Purpose - To minimize costly pretrial procedures in a case that may be equitably
settled, and to secure the just, speedy, and inexpensive determination of this action, all parties shall
participate in good faith in mediation. See Fed.R.Civ.P. 1; Fed.R.Civ.P. 16(a)(5); Local Rules
1.01(b), 9.01(b).

        B.     The Mediator - This Court prefers to appoint the certified and approved mediator,
if any, chosen by the parties in their Case Management Report. If no such mediator has been
chosen, the Court designates the default mediator listed in the above table pursuant to Local Rule
9.04. The mediator shall conduct the mediation conference in the conference room of the
mediator’s law firm or office at a time and date selected by the mediator within the confines of
this order.

        C.     Last Date to Mediate - The parties shall complete the mediation conference on or
before the mediation date set forth earlier in the above table. Despite Local Rule 9.05(d), neither
the mediator nor the parties have authority to continue the mediation conference beyond this date
except on express order of the Court. In any Track Three case, complex case, or case involving
multiple parties, the mediator has the authority to conduct the mediation in a series of sessions and
in groups of parties so that mediation is complete by the last date to mediate.

       D.      Mediator’s Authority - The mediator shall have all powers and authority to
conduct a mediation and to settle this case as are described in Chapter Nine of the Local Rules,
except as limited by this order. The mediation shall continue until adjourned by the mediator. In
order to coordinate the mediation conference, the mediator may set an abbreviated scheduling
conference prior to the scheduled mediation. At such time, the mediator may designate one or
more coordinating attorneys who shall be responsible for conferring with the mediator regarding
the mediation conference. If necessary, the coordinating attorney may coordinate the rescheduling
of a mediation conference within the time allowed in this order.

        E.      General Rules Governing Mediation Conference

              1.      Case Summaries - Not less than two days prior to the mediation
conference, each party shall deliver to the mediator a written summary of the facts and issues of
the case.

               2.    Identification of Corporate Representative - As part of the written case
summary, counsel for each corporate party shall state the name and general job description of the
employee or agent who will attend and participate with full authority to settle on behalf of the
corporate party.

                3.       Attendance Requirements and Sanctions - Each attorney acting as lead
trial counsel, and each party (and in the case of a corporate party, a corporate representative) with
full authority to settle, shall attend and participate in the mediation conference. In the case of an
insurance company, the term “full authority to settle” means authority to settle for the full value
of the claim or policy limit. The Court will impose sanctions upon lead counsel and parties who
do not attend and participate in good faith in the mediation conference.

             4.     Authority to Declare Impasse - Participants shall be prepared to spend as
much time as may be necessary to settle the case. No participant may force the early conclusion

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 of a mediation because of travel plans or other engagements. Only the mediator may declare an
 impasse or end the mediation.

                 5.     Restrictions on Offers to Compromise - Evidence of an offer to
 compromise a claim is not admissible to prove liability for or invalidity of the claim or its amount.
 Fed. R. Evid. 408 (includes evidence of conduct or statements made in compromise negotiations);
 Local Rule 9.07(b). All discussion, representations and statements made at the mediation
 conference are privileged settlement negotiations. Except in a supplemental proceeding to enforce
 a settlement agreement, nothing related to the mediation conference shall be admitted at trial or be
 subject to discovery. Local Rule 9.07; Fed. R. Evid. 408. A communication between a party and
 a mediator during a private caucus is also confidential, unless the party tells the mediator that it is
 not.

        F.      Compensation of Mediators - Absent agreement of the parties and the mediator,
 mediators shall be compensated at a reasonable hourly rate provided by order of the Court after
 consideration of the amount in controversy, the nature of the dispute, the resources of the parties,
 the prevailing market rate for mediators in the applicable market, the skill and experience of the
 mediator, and other pertinent factors. Unless altered by order of the Court, the cost of the
 mediator's services shall be borne equally by the parties to the mediator conference.

         G.      Settlement and Report of Mediator - A settlement agreement reached between
 the parties shall be reduced to writing and signed by the parties and their attorneys in the presence
 of the mediator. See also Local Rule 9.06(b) and 3.08. Within seven days of the conclusion of
 the mediation conference, the mediator shall file and serve a written mediation report stating
 whether all required parties were present, whether the case settled, and whether the mediator was
 forced to declare an impasse. See Local Rule 9.06. The mediator may report any conduct of a
 party or counsel that falls short of a good faith effort to resolve the case by agreement or fails to
 comply with this Order. See Local Rule 9.05(e), 9.06(a).

 V.     FINAL PRETRIAL CONFERENCE

        A.     Lead Trial Counsel and Parties - If a final pretrial conference is set, lead trial
 counsel and local counsel for each party, together with any unrepresented party, must attend
 in person unless previously excused by the Court. See Local Rule 3.06(d); Fed.R.Civ.P. 16(d).

          B.      Substance of Final Pretrial Conference - Since this case must be fully ready for
 trial at the time that the Joint Final Pretrial Statement is due, at the final pretrial conference, all
 counsel and parties must be prepared and authorized to accomplish the purposes set forth in
 Fed.R.Civ.P. 16 and Local Rule 3.06, including formulating and simplifying the issues;
 eliminating frivolous claims and defenses; admitting facts and documents to avoid unnecessary
 proof; stipulating to the authenticity of documents; obtaining advance rulings from the Court on
 the admissibility of evidence; settling the dispute; disposing of pending motions; establishing a
 reasonable limit on the time allowed for presenting evidence; and such other matters as may
 facilitate the just, speedy, and inexpensive disposition of the action. See Fed.R.Civ.P. 16(c)-(d).

 VI. SANCTIONS - The Court will impose sanctions on any party or attorney: 1) who fails to
 attend and to participate actively in the meeting to prepare the Joint Pretrial Statement, or who
 refuses to sign and file the agreed document; 2) who fails to attend the Final Pretrial Conference,
 or who is substantially unprepared to participate; 3) who fails to attend the mediation and actively
 participate in good faith, or who attends the mediation without full authority to negotiate a
                                                 - 10 -
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       settlement, or who is substantially unprepared to participate in the mediation; or 4) who otherwise
       fails to comply with this order. Sanctions may include but are not limited to an award of reasonable
       attorney's fees and costs, the striking of pleadings, the entry of default, the dismissal of the case,
       and a finding of contempt of court. See Fed.R.Civ.P. 16(f) and 37; Local Rules 9.05(c), (e); 28
       U.S.C. § 1927.

       VII.   TRIAL

                A.    Trial Before District Judge - A case scheduled for trial before a United States
       District Judge normally will be called for trial on the first day of the trial term indicated in the
       above table, or as soon after that date as is possible in light of the Court’s felony and civil trial
       calender.1 Cases not reached for trial in the month scheduled will be carried over to the following
       month on a trailing trial calendar, and issued subpoenas will continue in force. Counsel, parties,
       and witnesses shall be available on twenty-four hours notice for trial after the beginning of the
       trial term. A different District Judge or visiting judge may try the case. Local Rule 1.03(d). The
       case may be set for trial in the Orlando Division, Tampa Division, Fort Myers Division, Ocala
       Division, or Jacksonville Division of the Court. Local Rule 1.02(e). Absent a showing of good
       cause, any party whose turn it is to provide evidence will be deemed to have rested if, during the
       hours designated for trial, the party has no further evidence or witnesses available.

               B.     Trial Before a Magistrate Judge - A case scheduled for trial before a United
       States Magistrate Judge will be called for trial on a date certain. With respect to a civil case that
       remains pending before a District Judge as of the date of this order, the United States District
       Judges of the Middle District of Florida wish to afford the parties the opportunity to consent to
       proceed before a Magistrate Judge. Consent must be unanimous. A United States Magistrate
       Judge is available pursuant to 28 U.S.C. § 636(c) and Fed.R.Civ.P. 73(a) to conduct all further
       proceedings in this case (or specified motions in this case), to conduct a jury or non-jury trial
       beginning on a date certain, and to enter final judgment. A party may appeal a final judgment of
       a Magistrate Judge to the United States Court of Appeals for the Eleventh Circuit in the same
       manner as an appeal from the district court. 28 U.S.C. § 636(c)(3); Fed.R.Civ.P. 73. A party is
       free to withhold consent without adverse substantive consequences. 28 U.S.C. § 636 (c)(2);
       Fed.R.Civ.P. 73(b). Consent forms are attached to this scheduling order. Fed.R.Civ.P. 73(b);
       Local Rule 6.05.

                C.      Settlement - Counsel shall immediately notify the Court upon settlement of any
       case. Local Rule 3.08(a). The parties shall notify the Court of any settlement or other disposition
       of the case which will eliminate the need for a jury by 11:30 a.m. on the last business day before
       the date scheduled for jury selection. Failure to do so will subject each party to joint and several
       liability for jury costs. Regardless of the status of settlement negotiations, the parties shall appear
       for all scheduled hearings, including the Final Pretrial Conference and for trial absent the filing of




   1
    This case may be reassigned to a visiting District Judge at any time. In unusual and extraordinary circumstances, the Court may re-
notice this case for trial shortly before the first day of the trial term if necessary to accommodate the trial schedule of the District Judge.

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 a stipulation of dismissal signed by all parties who have appeared in the action (or notice of
 dismissal if prior to answer and motion for summary judgment). Fed.R.Civ.P. 41(a).

        DONE AND ORDERED in Orlando, Florida, on April 14, 2020.




 Attachments:                Exhibit List Form [mandatory form]
                             Magistrate Judge Consent / Entire Case
                             Magistrate Judge Consent / Specified Motions

 Copies to:                  United States Magistrate Judge
                             All Counsel of Record
                             All Pro Se Parties
                             Law Clerk (trial judge)




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                                           EXHIBIT LIST
                                 Government                    Plaintiff                  Defendant                  Court



                        Case No.
                        Style:


 Exhibit         Date                  Date Admitted Sponsoring                     Objections /                 Description of
 No.             Identified                                  Witnesses              Stipulated                   Exhibit
                                                                                    Admissions1




         1
         Use a code (e.g. “A” or “*”) in this column to identify exhibits to be received in evidence by agreement without objections.
Otherwise, specifically state each objection to each opposed exhibit. Please note that each date box on the left must be one inch wide
to accommodate the Clerk’s stamp.
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AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                        UNITED STATES DISTRICT COURT
                                                                            for the
                                                               Middle District of Florida

                    KENNETH TABAZCKA                                            )
                                 Plaintiff                                      )
                     v.                                                         )     Civil Action No.      6:19-cv-2402-Orl-22GJK
        MIRAMED REVENUE GROUP, LLC, et al.                                      )
                               Defendants                                       )


           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE


        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may
then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge may
exercise this authority only if all parties voluntarily consent.

        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who may
otherwise be involved with your case.

       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

              Parties’ printed names                                   Signatures of parties or attorneys                      Dates




                                                                    Reference Order
        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.


Date:
                                                                                                  District Judge’s signature




                                                                                                    Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
magistrate judge. Do not return this form to a judge.
        Case 6:19-cv-02402-ACC-GJK Document 31 Filed 04/14/20 Page 15 of 15 PageID 160
AO 85A (Rev. 01/09) Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge




                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                             Middle District of Florida

                  KENNETH TABAZCKA                                             )
                               Plaintiff                                       )
                  v.                                                           )       Civil Action No. 6:19-cv-2402-Orl-22GJK
     MIRAMED REVENUE GROUP, LLC, et al.                                        )
                             Defendants                                        )

    NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

         Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct
all proceedings and enter a final order dispositive of each motion. A magistrate judge may exercise this authority only if
all parties voluntarily consent.

        You may consent to have motions referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who
may otherwise be involved with your case.

           Consent to a magistrate judge’s consideration of a dispositive motion. The following parties consent to have a
United States magistrate judge conduct any and all proceedings and enter a final order as to each motion identified below
(identify each motion by document number and title).


                  Motions:




            Parties’ printed names                                  Signatures of parties or attorneys                         Dates




                                                                   Reference Order

         IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all proceedings and
enter a final order on the motions identified above in accordance with 28 U.S.C. § 636(c).

Date:
                                                                                                     District Judge’s signature


                                                                                                      Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
magistrate judge. Do not return this form to a judge.




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